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 2
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 5           Facsimile: (559) 221-5262
              Jim@walaw-fresno.com
 6           Leslie@walaw-fresno.com

 7
     Attorneys for Defendant County of Fresno, sued herein as County of Fresno and Fresno County
 8   Sheriff’s Office
 9
                                  IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    VERONICA ORDAZ GONZALEZ;                             )   CASE NO.
13    JOSE RAMOS SANTIAGO; OMAR                            )
      PEREZ and ROBERTO PEREZ,                             )   [Fresno Sup. Ct Case No. 18CECG03672]
14                                                         )
                Plaintiffs,                                )
15                                                         )   DECLARATION OF JAMES D.
                                                           )   WEAKLEY IN SUPPORT OF NOTICE OF
16                       vs.                               )   REMOVAL OF ACTION
                                                           )   [28 U.S.C.§ 1441(b)]
17    COUNTY OF FRESNO; FRESNO                             )
      COUNTY SHERIFF’S OFFICE; OFFICER                     )
18    DOE 1; and DOES 2 to 25, inclusive,                  )
                                                           )
19              Defendants.                                )
                                                           )
20                                                         )   Complaint Filed: October 3, 2018
                                                           )   Trial Date: TBD
21                                                         )
                                                           )
22                                                         )   Public Entity Exempt from Filing Fees
                                                           )   Pursuant to Government Code section 6103
23    __________________________________                   )

24   I , James D. Weakley, declare as follows:
25            1.       I am an attorney at law, duly licensed to practice before the courts in the State of
26   California and the United States District Court for the Eastern District of California. I am an attorney
27   with the law firm of Weakley & Arendt, a Professional Corporation, the attorneys of record for
28
     ____________________________
     Declaration of James D. Weakley in Support of
     Notice of Removal of Action
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 1   Defendant County of Fresno, sued herein as County of Fresno and Fresno County Sheriff’s Office
 2   (“Defendant”).
 3            2.       I am one of the attorneys primarily responsible for handling the defense of this litigation
 4   on behalf of my clients. As such, I am thoroughly familiar with the legal issues in this matter and, if
 5   called upon as a witness, could and would competently testify to each of the matters set forth herein.
 6            3.       I am informed and believe that Plaintiffs filed their claim for damages (“Complaint”)
 7   in the Fresno County Superior Court on October 3, 2018. Attached hereto as Exhibit “A” is a true
 8   and correct copy of the Summons and Complaint. I am informed and believe that Defendant was
 9   served with a copy of Plaintiffs’ Complaint on October 11, 2018. On November 7, 2018, I caused an
10   Answer to be filed in the Fresno County Superior Court, which was within the time frame by which
11   to file an answer. Attached hereto as Exhibit B is a true and correct copy of the Answer filed on
12   behalf of my client.
13            4.       All Parties are represented by the same counsel and consent to removal of this action
14   to United States District Court, Eastern District of California, County of Fresno.
15            I declare under penalty of perjury under the laws of the United States that the foregoing is true
16   and correct to the best of my knowledge and belief and that this declaration was executed in Fresno,
17   California on November 10, 2018.
18
                                                            /s/ James D. Weakley____
19                                                             James D. Weakley
20
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     ____________________________
     Declaration of James D. Weakley in Support of
     Notice of Removal of Action                            2
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           EXHIBIT B
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                                                      E-FILED
                                                  11/7/2018 3:57 PM
                                               FRESNO COUNTY SUPERIOR COURT
                                                 By: J. Nelson, Deputy
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 1                                                   PROOF OF SERVICE
 2          I, the undersigned, hereby certify that I am employed in the County of Fresno, State of
     California, over the age of eighteen years and not a party to the within action; my business address
 3   is 5200 N. Palm Avenue, Suite 211, Fresno, California 93704.
 4            On the date set forth below, I placed in a sealed envelope and served a true copy of the
     within
 5
                        DECLARATION OF JAMES D. WEAKLEY IN SUPPORT OF
 6                       NOTICE OF REMOVAL OF ACTION [28 U.S.C.§ 1441(b)]
 7   addressed as follows:
 8   Nolan C. Kane
     BARADAT & PABOOJIAN, INC
 9   720 West Alluvial Avenue
     Fresno, CA 93711
10   Phone: (559) 431-5366
     Fax: (559) 431-1702
11   E-Mail: nck@bplaw-inc.com
12   Attorneys for Plaintiffs
13
14
     :       BY MAIL       I am readily familiar with the business practice at my place of business for
     collection and processing of correspondence for mailing with the United States Postal Service.
     Correspondence so collected and processed is deposited in the ordinary course of business.
15
             I caused each envelope, with postage fully prepaid, to be placed in the United States mail,
16   at Fresno, California.
17   9 BY HAND I hand delivered each envelope to the office listed above.
18   9      BY FACSIMILE           I served the above-mentioned document from Facsimile Machine
     No.: (559) 221-5262 to the interested parties at the facsimile numbers listed above.
19
20
     9      BY FEDERAL EXPRESS I am readily familiar with the business practice at my place of
     business for collection and processing of correspondence for overnight delivery with Federal
     Express. Such correspondence will be deposited with a facility regularly maintained by Federal
21   Express for receipt on the same day in the ordinary course of business.
22           I declare that I am employed in the office of a member of the bar of this court at whose
     direction the service was made. I declare under penalty of perjury that the foregoing is true and
23   correct, and that this proof of service was executed at Fresno, California, on November 10, 2018.
24
                                                                   /s/ Prisma N. Valencia
25                                                                 Prisma N. Valencia
26
27
28
     ____________________________
     Declaration of James D. Weakley in Support of
     Notice of Removal of Action                            3
